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                                                     Form A
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Name                                                                       of New Jersey
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                                                                      Notice ofMotion
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PLEASE TAKE NOTICEtha I Wl                     apply to th elゝ卜嬌∝ Court ofNew Jersey,Law
Division, Special Civil Part,                          County located at
(address)                                                                                     in the above
                                                                                          '
entitred matter for u'    ord
! Permit Discovery
E Vacate Dismissal/Reinstate Complaint
    Amend Complaint
    Amend Answer

!   Amend Judgment

□ E■ er Ju dgment Out of Time
    Vacate Default/Vacate Default Judgment (must include answer, any cross-claims or
    counterclaims, and the application fee; see step 6 onpage 6)
     Other (Specifu)


NOTICE: IF YOU wAflT TO RESPOND TO TIIIS MOTION YOU MUST DO SO IN
WRITING. Your written response must be in the form of a certification or affidavit. That
means that the person signing it swears to the truth of the statements in the certification or
affidavit and is aware that the court can punish him or her if the statements are knowingly false.
You may ask for oral argument, which means you can ask to appear before the court to explain
your position. If the court grants oral argument, you will be notified of the time, date and place.
Your response, if any, must be in writing even if you request oral argument. Any papers you
send to the court must also be sent to the opposing party's attomey, or the opposing party if not
represented by an attomey.
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                                                 Form A
If you do not notifu the Clerk and the undersigned in writing within ten (10) days of service of
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order              you without a hearing.
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                                       Certification of Service
I certify that I served a copy ofthis motion and any accompanying pages (check one)
          E Personally on the person(s) or attomey(s) listed below.
                  mailine it to the person(s) or attomey(s) listed below by regular and certified mail.
          Xny
I certifu that the foregoing statements made by me are true. I am aware that if any of the
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